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  IT IS ORDERED as set forth below:



  Date: March 14, 2018
                                                                 _________________________________

                                                                           Paul W. Bonapfel
                                                                     U.S. Bankruptcy Court Judge
 _______________________________________________________________



                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION



     IN THE MATTER OF:                                       :      CASE NUMBER: 17-56753-PWB
                                                             :
     6420 ROSWELL ROAD, INC.,                                :
                                                             :      IN PROCEEDINGS UNDER
                                                             :      CHAPTER 11 OF THE
                 Debtor(s).                                  :      BANKRUPTCY CODE


         ORDER & NOTICE OF HEARING TO APPROVE DISCLOSURE STATEMENT


     TO:         DEBTOR, ATTORNEY FOR DEBTOR, ALL CREDITORS AND OTHER
                 PARTIES IN INTEREST:


                    A disclosure statement was filed on March 12, 2018, (Document No. 57), under
     Chapter 11 of the Bankruptcy Code, referring to a plan filed on March 12, 2018, (Document No.
     58), as Federal Rule of Bankruptcy Procedure 3016 requires. The disclosure statement is
     available for inspection from 9:00 A.M. to 4:00 P.M., Monday through Friday at the Office of the
     Clerk, United States Bankruptcy Court, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303, or
     online at http://ecf.ganb.uscourts.gov (registered users) and at http://pacer.psc.uscourts.gov (unregistered users).

               NOTICE IS HEREBY GIVEN that a hearing will be held on April 24, 2018, at
     10:00 A.M., in Courtroom 1401, United States Courthouse, 75 Ted Turner Dr., S.W., Atlanta,
     Georgia, to consider the approval of the Disclosure Statement.
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                 NOTICE IS FURTHER GIVEN that written objections to the proposed Disclosure
     Statement must be filed with the Court at least five (5) days prior to the above-referenced
     hearing. Copies of all such objections must be served upon the attorney for the debtor. Failure
     to file and serve said objections may result in a waiver of same.

                NOTICE IS FURTHER GIVEN that within 5 days after the entry of this Notice, the
     attorney for the Debtor shall transmit a copy of this Notice by mail to creditors, equity security
     holders and other parties in interest, as provided in Federal Rule of Bankruptcy Procedure
     3017(a) and pursuant to BLR 9007-2, NDGa.


                                         END OF DOCUMENT
